Case 1:13-cr-00473-RM Document 22 Filed 12/13/13 USDC Colorado Page 1 of 2




                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                                  Judge Raymond P. Moore


Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

                Plaintiff,

v.

GARY SNISKY,

                Defendant.


          ORDER REGARDING DISCLOSURE OF GRAND JURY MATERIALS


         Upon consideration of the Government's Motion to Disclose Grand Jury Materials under

Specified Conditions to Attorney for the Defendant Pursuant to Fed. R. Crim. P. 6(e)(3)(E)(i), it is

hereby

         ORDERED that a copy of the transcripts of testimony given before the grand jury and other

grand jury materials may be disclosed to the attorney for the defendant for preparation for trial.

         IT IS FURTHER ORDERED that:

         1.     Defense counsel make only such copies as are necessary to prepare a defense of this

         criminal case;

         2.     Defense counsel keep a written record concerning how many copies were made, to

         whom those copies were delivered, and the date of delivery, and that defense counsel

         deliver a copy of this Order allowing disclosure with the materials;

         3.     Defense counsel provide the Defendant with reasonable access to the grand jury

         materials, but that defense counsel not allow the Defendant to retain copies of any grand
Case 1:13-cr-00473-RM Document 22 Filed 12/13/13 USDC Colorado Page 2 of 2




     jury materials;

     4.     No person, other than defense counsel, make any copy of the grand jury materials

     for any purpose; and

     5.     At the conclusion of the case in this Court, by entry of the Court’s judgment,

     defense counsel collect all such copies and return them to the government within ten days.

            DATED this 13th day of December, 2013.

                                                  BY THE COURT:


                                                  _____________________________
                                                  RAYMOND P. MOORE
                                                  United States District Judge




                                             2
